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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

MATHIEU ASPEL, individually and                       )
on behalf of similarly situated individuals,          )
                                                      )
          Plaintiff,                                  )       Case No. 23cv17093
                                                      )
v.                                                    )
                                                      )
INCODE TECHNOLOGIES, INC.,                            )
                                                      )
          Defendant.                                  )

                                     NOTICE OF REMOVAL

          Pursuant to 28 U.S.C. §§ 1332(d), 1441, and 1446, Defendant Incode Technologies, Inc.

(“Defendant”) hereby provides notice of removal of this action from the Circuit Court of Grundy

County, Illinois, to the United States District Court for the Northern District of Illinois, Eastern

Division. In support of this Notice of Removal, Defendant states as follows:

     I.        Threshold Requirements

          1.      On November 21, 2023 Plaintiff Mathieu Aspel (“Plaintiff”) filed a putative first

amended class action complaint (“Complaint”) against Defendant in the Circuit Court of Grundy

County, Illinois, captioned Mathieu Aspel v. Incode Technologies, Inc., No. 2023LA59 (the “State

Court Action”).

          2.      Defendant was served with a copy of the Complaint and Summons in the State

Court Action on November 28, 2023.

          3.      This Notice of Removal is timely filed under 28 U.S.C. § 1446(b)(1) because it is

filed within 30 days of the date that Defendant was served with the initial pleading.
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         4.     Pursuant to 28 U.S.C. § 1446(a), all process, pleadings, and orders that have been

filed and served in the State Court Action are attached hereto as Exhibit 1.

         5.     Plaintiff alleges that Defendant violated the Illinois Biometric Information Privacy

Act, 740 ILCS 14/1, et seq. (“BIPA”) through the use of Defendant’s biometric facial recognition

software. (Compl., ¶¶ 49-60). Specifically, Plaintiff alleges that Defendant “used biometric

identification technology to extract Plaintiff’s biometric identifiers and compare the two

photographs” (Compl. ¶ 33) and, in violation of BIPA failed to “establish a publicly-available

retention schedule or guideline for permanently destroying consumers’ biometric identifiers and

biometric information,” “to inform Plaintiff and the Class in writing that their biometric identifiers

and biometric information were being collected and stored,” “to inform Plaintiff and the Class in

writing of the specific purpose and length of term for which their biometric identifiers or biometric

information was being collected, stored and used,” “obtain a written release,” and “obtain informed

releases from Plaintiff and the Class before it collected, used, and stored their biometric identifiers

and biometric information.” (Compl., ¶¶ 55-58).

         6.     Plaintiff seeks to represent a putative class of “all persons who, while within the

State of Illinois, uploaded their photograph(s) and an ID to any application, software, or website

operated by Chime, and subsequently to Incode, from November 21, 2018 to the present.” (Compl.,

¶ 43).

         7.     The Seventh Circuit holds there is Article III jurisdiction over BIPA claims like the

ones Plaintiff brings in this case. See Fox v. Dakkota Integrated Sys., LLC, 980 F.3d 1146, 1154-

55 (7th Cir. 2020) (holding there is Article III jurisdiction over claims under Section 15(a) of BIPA




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where plaintiff alleges unlawful retention of data) 1; Bryant v. Compass Group USA, Inc., 958 F.3d

617 (7th Cir. 2020) (holding there is Article III jurisdiction over Section 15(b) claims).

    II.         Class Action Fairness Act Jurisdiction Pursuant to 28 U.S.C. § 1332(d)

          8.       Removal is proper under 28 U.S.C. § 1332(d) because the United States District

Courts have original jurisdiction over any class action: (i) involving a putative class of 100 or more

members; (ii) where at least one member of the plaintiff class is a citizen of a State different from

any defendant; and (iii) in which the matter in controversy exceeds (in the aggregate) the sum or

value of $5 million, exclusive of interest and costs. See Dart Cherokee Basin Operating Co. v.

Owens, 135 S. Ct. 547, 554 (2014) (“CAFA’s provisions should be read broadly.”). 2 Here, all three

conditions are satisfied.

          9.       Plaintiff estimates that the putative class “amount[s] to thousands of persons.”

(Compl., ¶ 44.)

          10.      The class must contain at least two thousand people to constitute “thousands” of

persons. Accordingly, the class involves 100 or more members as required by 28 U.S.C. §

1332(d)(5)(B).

          11.      According to the allegations in the Complaint, Plaintiff is a resident and citizen of

Illinois. (Compl., ¶ 12).

          12.      Defendant is a Delaware corporation with its headquarters and principal place of

business in San Francisco, California. (Compl., ¶ 13.)




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         Section 15(a) requires destruction “when the initial purpose for collecting or obtaining such identifiers or
information has been satisfied or within 3 years of the individual’s last interaction with the private entity, whichever
occurs first.” 740 ILCS 14/15(a). Plaintiff alleges that Defendant failed to maintain retention schedules and guidelines
for permanently destroying biometric data. (Compl., ¶ 58)
2
         By arguing that this matter is removable under 28 U.S.C. § 1332(d), Defendant does not waive any
argument that this matter is improper for class certification and all such arguments are expressly reserved.


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           13.     Because Plaintiff is a citizen of Illinois and Defendant is a citizen of Delaware, at

least one member of the class of plaintiffs is a citizen of a State different from the defendant as

required by 28 U.S.C. § 1332(d)(2)(A).

           14.     Because Defendant is not a citizen of the State in which the action was originally

filed, removal is proper under 28 U.S.C. §§ 1332(d)(3)-(4).

           15.     For purposes of assessing the amount in controversy, Plaintiff’s allegations are

accepted as true. See, e.g., St. Paul Mercury Indem. Co. v. Red Cab Co., 303 U.S. 283, 289 (1938)

(noting it does not matter, for purposes of the amount in controversy, that “the complaint discloses

the existence of a valid defense to the claim.”).

           16.     Plaintiff seeks “declaratory relief,” “injunctive and other equitable relief,”

“statutory damages of $5,000 for each and every willful and/or reckless violation of BIPA,

pursuant to 740 ILCS 14/20(2), or “statutory damages of $1,000 for each and every [negligent]

violation pursuant to 740 ILCS 14/20(1)” “reasonable attorneys’ fees and costs and other litigation

expenses” and “pre-and post-judgment interest.” (Compl., p. 15).

           17.     Because Plaintiff is seeking statutory damages of $5,000.00 for each alleged

violation, in addition to attorney’s fees and unspecific injunctive and equitable relief and alleges

that the number of persons within the class amount to “thousands” of persons—which must be at

least two thousand people—the amount in controversy exceeds $5,000,000 as required by 28

U.S.C. § 1332(d)(2). 3

           18.     This matter satisfies all requirements of 28 U.S.C. § 1332(d) and is therefore

removable under the Class Action Fairness Act of 2005.

    III.         Venue


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        If damages are calculated on a per-person basis and there are at least 2,000 class members, the amount in
controversy would be $10,000,000, plus attorneys’ fees and the value of other unspecific relief that Plaintiff seeks.


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       19.     Venue is proper in the Eastern Division of the Northern District of Illinois because

the State Court Action is pending within the jurisdictional confines of this Court. 28 U.S.C. §

1446(a).

       20.     Defendant will provide written notice of the filing of this Notice of Removal to

plaintiff the Circuit Court of Grundy County.

       WHEREFORE, Defendant Incode Technologies, Inc. hereby removes this civil action to

this Court on the bases identified above.

Dated: December 27, 2023                             INCODE TECHNOLOGIES, INC.

                                                     By: /s/ Amy L. Lenz
                                                     Joel C. Griswold
                                                     Bonnie Keane DelGobbo
                                                     Amy L. Lenz
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                                                     Counsel for Defendant




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                               CERTIFICATE OF SERVICE

       The undersigned, an attorney, certifies that she caused a true copy of the foregoing Notice

of Removal to be served on counsel of record via email on December 27, 2023, to:

       Matthew T. Peterson
       Consumer Law Advocates, PLLC
       230 E. Ohio St., Ste. 410
       Chicago, IL 60611
       Phone: 815.999.9130
       Email: mtp@lawsforconsumers.com


                                                    /s/ Amy L. Lenz




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